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 1                                                         Magistrate Judge S. Kate Vaughan
 2
 3
 4
 5
 6
 7                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF WASHINGTON
 8
                                   AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                         NO.     MJ21-543
11
                           Plaintiff
                                                        COMPLAINT FOR VIOLATION
12
                                                        18 U.S.C. § 922(g)(1)
13
                      v.
14
      EVERETT J. HAYES,
15    a/k/a EVERETT J. KENNEBREW,
16
                           Defendant.
17
18
19        BEFORE the Honorable S. Kate Vaughan, United States Magistrate Judge, United

20 States Courthouse, Seattle, Washington.
21        The undersigned complainant being duly sworn states:

22                                         COUNT 1

23                              (Felon in Possession of a Firearm)

24                                          [Vehicle]

25        On or about July 20, 2021, in SeaTac, within the Western District of Washington,

26 EVERETT JAMESLEE HAYES, knowing he had been convicted of the following
27 crimes punishable by a term of imprisonment exceeding one year, namely:
28


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 1         Domestic Violence Felony Violation of a Court Order, under cause number 18-1-
           03277-2, dated on or about June 7, 2019, in King County Superior Court,
 2
           Washington, under the alias EVERETT JAMES KENNEBREW;
 3
           Unlawful Possession of a Firearm in the Second Degree and Assault in the Third
 4
           Degree – Domestic Violence, under cause number 15-1-01092-8, dated on or
 5         about July 17, 2015, in King County Superior Court, Washington, under the alias
           EVERETT JAMES KENNEBREW; and
 6
 7         Robbery in the Second Degree and Felony Harassment, under cause number 11-1-
           10661-2, dated on or about January 20, 2012, in King County Superior Court,
 8
           Washington, under the alias EVERETT JAMES KENNEBREW;
 9
     did knowingly possess, in and affecting interstate and foreign commerce, a firearm, that
10
     is, a Taurus PT140Pro pistol in .40 caliber, which had been shipped and transported in
11
     interstate commerce.
12
           All in violation of Title 18, United States Code, Section 922(g)(1).
13
                                           COUNT TWO
14
                                 (Felon in Possession of Ammunition)
15
                                              [Person]
16
           On or about July 20, 2021, in SeaTac, within the Western District of Washington,
17
     EVERETT JAMESLEE HAYES, knowing he had been convicted of the following
18
     crimes punishable by a term of imprisonment exceeding one year, namely:
19
           Domestic Violence Felony Violation of a Court Order, under cause number 18-1-
20
           03277-2, dated on or about June 7, 2019, in King County Superior Court,
21         Washington, under the alias EVERETT JAMES KENNEBREW;
22
           Unlawful Possession of a Firearm in the Second Degree and Assault in the Third
23         Degree – Domestic Violence, under cause number 15-1-01092-8, dated on or
           about July 17, 2015, in King County Superior Court, Washington, under the alias
24
           EVERETT JAMES KENNEBREW; and
25
           Robbery in the Second Degree and Felony Harassment, under cause number 11-1-
26
           10661-2, dated on or about January 20, 2012, in King County Superior Court,
27         Washington, under the alias EVERETT JAMES KENNEBREW;
28


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 1 did knowingly possess, in and affecting interstate and foreign commerce, two .40 caliber
 2 rounds of ammunition, which had been shipped and transported in interstate commerce.
 3         All in violation of Title 18, United States Code, Section 922(g)(1).
 4
 5         The undersigned complainant, Nathan Petrulak, being duly sworn, further deposes
 6 and states as follows:
 7                                      INTRODUCTION
 8         1.      I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms,
 9 and Explosives (ATF) and have been so employed since March 6, 2018. I am an
10 “investigative or law enforcement officer of the United States” within the meaning of
11 Title 18, United States Code, Section 2510(7), that is, an officer of the United States who
12 is empowered by law to conduct investigations of, and to make arrests for, offenses
13 enumerated in Title 18, United States Code, Section 2516. I am currently assigned to the
14 Seattle Field Division in Seattle, Washington where I am assigned to the Seattle I Field
15 Office.
16         2.      I received formal training in the Federal Law Enforcement Training Center
17 in Glynco, Georgia, Criminal Investigators Training Program, which familiarized me
18 with basic narcotic investigations, drug identification and detection, familiarization with
19 United States narcotics laws, financial investigations and money laundering,
20 identification and seizure of drug-related assets, organized crime investigations, physical
21 and electronic surveillance, and undercover operations. In addition, I successfully
22 completed a fifteen-week ATF Special Agent Basic Training course in Glynco, Georgia,
23 which included comprehensive, formalized instruction in, among other things: firearms
24 identification, firearms trafficking, arson and explosives, and tobacco and alcohol
25 diversion. I am graduate of Point Park University where I received a Master’s in Business
26 Administration in 2014. Additionally, I am a graduate of the University of Pittsburgh
27 where I received a Bachelor of Science in Biological Sciences in 2010. As a result of my
28 training, experience, and that of other more experienced investigators, I have an


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 1 understanding of the manner in which narcotics are distributed and various roles played
 2 by individuals or groups involved in the distribution, along with unlawful use of firearms
 3 during crimes of violence and/or drug trafficking and firearms trafficking.
 4         3.      As noted above, I am responsible for investigations involving specified
 5 unlawful activities, to include violent crimes involving firearms that occur in the Western
 6 District of Washington. I am also responsible for enforcing federal firearms and
 7 explosives laws and related statutes in the Western District of Washington. I received
 8 training on the proper investigative techniques for these violations, including the
 9 identification of firearms and the location of the firearms’ manufacture. I have actively
10 participated in investigations of criminal activity, including but not limited to crimes
11 against persons, crimes against property, narcotics-related crimes, and crimes involving
12 the possession and use, theft, or transfer of firearms. During these investigations, I have
13 also participated in the execution of search warrants and the seizure of evidence
14 indicating the commission of criminal violations.
15         4.      The information in this complaint is based on my investigation, along with
16 investigation by other law enforcement officers, conversations with law enforcement
17 officers, and review of law enforcement documents.
18         5.      Because this Complaint is submitted for the limited purpose of establishing
19 probable cause, it does not set forth each and every fact that I or others have learned
20 during the course of this investigation. I have set forth only the facts that I believe are
21 necessary to establish probable cause to believe that EVERETT JAMESLEE HAYES
22 committed the offenses charged, namely, being a felon in possession of a Taurus
23 PT140Pro pistol in .40 caliber and two .40 caliber rounds of ammunition, in violation of
24 Title 18, United States Code, Section 922(g)(1).
25                            SUMMARY OF PROBABLE CAUSE
26 A.      EVERETT JAMESLEE HAYES’s Criminal History
27         6.      I have reviewed court and law enforcement records related to EVERETT
28 JAMESLEE HAYES’s criminal history. These records show HAYES has an active


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 1 protection order that prohibits him from possessing firearms, in addition to nine felony
 2 convictions that include felony violation of a protection order, robbery in the second
 3 degree, unlawful possession of a firearm in the second degree, harassment, theft in the
 4 first degree, theft in the second degree, and residential burglary.
 5          7.      Specifically, HAYES has been convicted of the following crimes for which
 6 he was sentenced to a term of imprisonment exceeding one year:
 7                  Domestic Violence Felony Violation of a Court Order, under cause number
                    18-1-03277-2, dated on or about June 7, 2019, in King County Superior
 8
                    Court, Washington, under the alias EVERETT JAMES KENNEBREW;
 9
                    Unlawful Possession of a Firearm in the Second Degree and Assault in the
10
                    Third Degree – Domestic Violence, under cause number 15-1-01092-8,
11                  dated on or about July 17, 2015, in King County Superior Court,
                    Washington, under the alias EVERETT JAMES KENNEBREW; and
12
13                  Robbery in the Second Degree and Felony Harassment, under cause
                    number 11-1-10661-2, dated on or about January 20, 2012, in King County
14
                    Superior Court, Washington, under the alias EVERETT JAMES
15                  KENNEBREW.
16
     B.     EVERETT JAMESLEE HAYES’s Arrest
17
            8.      On July 20, 2021, King County Sheriff’s Office (KCSO) Sergeant Hamill,
18
     supervisor of the SeaTac Street Crimes Unit conducted a community area check of the
19
     Motel 6 parking lot located at 20651 Military Road South, SeaTac, Washington, and
20
     encountered a male bleeding from his face. Sergeant Hamill saw a white SUV quickly
21
     pull out of the parking stall driving over the curb and heading north towards the exit.
22
     Based on the male’s significant injury, the fact that the injured male had been looking at
23
     the white SUV as it left, and the SUV’s quick departure after driving over the curb,
24
     Sergeant Hamill believed that this vehicle had some connection to male as well as the
25
     significant injury Sergeant Hamill observed.
26
            9.      Sergeant Hamill followed the SUV out of the complex trying to identify its
27
     license plate as well as its make and model. While he was following the SUV, it ran a red
28
     light before taking the on-ramp to northbound Interstate 5. Sergeant Hamill eventually


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 1 caught up to the SUV and identified it as a Hyundai Tucson bearing California license
 2 #8PWL189.
 3         10.    KCSO Master Police Officer (MPO) Bugosh arrived in the area and
 4 Sergeant Hamill directed him to the Hyundai. MPO Bugosh began following the Hyundai
 5 as it pulled into the gas station on the northeast corner of South 200 Street and
 6 International Boulevard South, where MPO Bugosh conducted a traffic stop.
 7         11.    MPO Bugosh contacted the driver and only occupant who was later
 8 identified as EVERETT JAMESLEE HAYES. The driver’s door opened as MPO Bugosh
 9 came to a stop behind the vehicle. HAYES immediately got out of the driver's seat, shut
10 the door, and faced MPO Bugosh. This is not normal behavior for a subject being pulled
11 over for a traffic violation. MPO Bugosh immediately noticed that HAYES’s right pants
12 pocket was inside-out, which was indicative of someone quickly removing an item from
13 tight-fitting jeans. MPO Bugosh told HAYES to come to the front of the patrol car and sit
14 on the front bumper, where MPO Bugosh frisked him for weapons, finding none.
15         12.    HAYES was immediately defensive and wanted to know why he was
16 “being detained.” MPO Bugosh explained that a detective had watched an incident unfold
17 at the Motel 6 and had seen him quickly leaving the scene. HAYES said he did not have
18 any identification on him, and verbally identified himself to MPO Bugosh as EVERETT
19 KENNEBREW. MPO Bugosh performed a record check of HAYES and confirmed his
20 identity with a matching driver’s license photo. HAYES’s current Washington driver’s
21 license is in the name EVERETT JAMESLEE HAYES, although he previously had a
22 driver’s license issued in the name EVERETT J KENNEBREW. HAYES’s driver’s
23 license status was suspended, and he was required to use an ignition interlock device
24 when driving, which the Hyundai did not have.
25         13.    MPO Bugosh arrested HAYES for driving with a suspended license and
26 driving a vehicle without the required ignition interlock device. MPO Bugosh placed
27 HAYES into handcuffs without incident and read him his Miranda Rights, which
28


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 1 HAYES said he understood. The Hyundai Tucson SUV was secured by KCSO Sergeant
 2 Barden pending a search warrant.
 3         14.    During a search incident to arrest, MPO Bugosh seized two .40 caliber
 4 rounds of ammunition from HAYES’s pants pocket. When MPO Bugosh removed the
 5 bullets, HAYES asked “Is that illegal?” Assuming he knew that it was for him, being a
 6 convicted felon, MPO Bugosh confirmed that it was illegal for him to possess those
 7 items. HAYES also had two cell phones and $1,889.00 cash on his person.
 8         15.    At approximately 1525 hours MPO Bugosh spoke with “Angelina Clark”
 9 who said that she rented the vehicle but loaned it to HAYES to pick up his girlfriend and
10 pay for a room at the motel. MPO Bugosh explained to Clark that her vehicle was taken
11 pending a search warrant and that HAYES was in SCORE jail. Clark stated to MPO
12 Bugosh that the vehicle was “empty” when she loaned it to HAYES.
13 C.      Search of Hyundai Tucson operated by HAYES
14         16.    KCSO Detective Kelley obtained a search warrant for the white Hyundai
15 Tucson that HAYES had been driving. When Detective Kelley searched the Hyundai, he
16 found a Taurus PT140Pro pistol in .40 caliber in the center console. The pistol had a
17 loaded magazine and a spent shell casing in the chamber.
18 D.      Search of Hotel Room #231
19         17.    Sergeant Hamill returned to the motel and joined several Detectives and
20 Deputies who were searching the area where Sergeant Hamill had last seen the injured
21 male.
22         18.    Detective Myklebust and Detective Ghrmai advised that blood had been
23 located on the lower level and a trail had been followed up to room #231. Due to the
24 amount of blood and the explanation of injury from Sergeant Hamill, Detective
25 Myklebust and Detective Ghrmai located room #231, found the door to the room ajar,
26 and entered the room to provide lifesaving efforts to anyone injured or unconscious
27 inside. No one was located inside the room. While inside room #231, detectives noticed
28 what appeared to be a bullet hole in the door of the room. Based on the damage,


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 1 detectives believe the bullet hole would have occurred from the inside of room #231. The
 2 room was secured by Detective Myklebust and Detective Ghrmai pending a search
 3 warrant. A request was put out to local hospitals for a possible victim who may have
 4 sought aid.
 5          19.   Detective Ghrmai contacted the neighboring unit to the south (#232) where
 6 Det Ghrmai contacted M.B. and S.B. M.B. informed Detective Ghrmai she heard a fight
 7 next door and could hear multiple males and a female arguing. M.B. heard what sounded
 8 like someone getting slammed into the wall. M.B. said she was returning from a trip
 9 when she said she heard the argument. S.B. advised Detective Ghrmai she was sleeping
10 while M.B. was gone but awoke to what she thought was a gunshot. S.B. said she wasn't
11 sure if it was a gunshot because the sound is what woke her up. She could hear an
12 argument next door but no other gunshots. S.B. said she was scared and did not want to
13 open the door to find out what was going on. S.B. and M.B. informed Detective Ghrmai
14 they did not see anyone who was involved in the altercation; they could just hear it.
15          20.   Deputy Bartolo and Deputy Brubaker reviewed video footage at the Motel
16 6 and observed a subject who matched HAYES’s description (white t-shirt, black/white
17 pants, black hat, ponytail) exit room #231 shortly before Sergeant Hamill arrived at the
18 motel.
19          21.   After obtaining a search warrant, KCSO Detectives Kelly and Grotzky
20 searched room #231 taking photographs and recovered biological evidence.
21 E.       Interstate Nexus Examination
22          22.   ATF Special Agent Brian Arnold is an interstate nexus expert who has
23 received specialized training in identifying firearms and their place of manufacture. SA
24 Arnold has examined photographs of the Taurus PT140Pro pistol in .40 caliber and of the
25 two .40 caliber rounds of ammunition located in HAYES’s pocket and determined that
26 both the firearm and rounds of ammunition were manufactured outside the State of
27 Washington. Therefore, the firearm and rounds of ammunition must have traveled in
28 interstate or foreign commerce before being possessed in the state of Washington.


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 1                                        CONCLUSION
 2          23.    Based on the foregoing, I respectfully submit that there is probable cause to
 3 believe that EVERETT JAMESLEE HAYES committed the crimes of Felon in
 4 Possession of Firearm, in violation of Title 18, United States Code, Section 922(g)(1) and
 5 Felon in Possession of Ammunition, in violation of Title 18, United States Code, Section
 6 922(g)(1).
 7
 8                                                    NATHAN                 Digitally signed by NATHAN PETRULAK
                                                                             Date: 2021.10.05 11:09:22 -07'00'

 9                                                    PETRULAK
                                                      NATHAN PETRULAK, Complainant,
10
                                                      Special Agent
11                                                    Bureau of Alcohol, Tobacco, Firearms,
                                                      and Explosives
12
13
            The above-named agent provided a sworn statement attesting to the truth of the
14
     contents of the foregoing affidavit on the 6th day of October, 2021. Based on the
15
     information contained in this affidavit, the Court hereby finds that there is probable cause
16
     to believe the Defendant committed the offense set forth in the Complaint.
17
18
19
20                                             THE HONORABLE S.     S KATE
                                                                       KA VAUGHAN
                                               United States Magistrate Judge
21
22
23
24
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26
27
28


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